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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                  )
                                           )      UNDER SEAL
v.                                         )
                                           )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                     )
                                           )
              Defendant.                   )


                DEFENDANT PAUL J. MANAFORT, JR.’S SECOND
               SUPPLEMENTAL MEMORANDUM TO MOTION FOR
               RECONSIDERATION OF CONDITIONS OF RELEASE

       Paul J. Manafort, Jr., by and through counsel, hereby moves the Court to

reconsider his conditions of release as set forth in the December 15, 2017 Order

(“Order”).   Pursuant to the Court’s request, this second supplemental memorandum

regarding the reconsideration of conditions of release addresses the specific issues

identified below. See Minute Order dated February 14, 2018.

I.     Collateralization of the Bridgehampton Mortgage

       The business attorney who handled the mortgage refinancing transaction relating

to the Bridgehampton, NY property was contacted upon the conclusion of the hearing

held on February 14, 2018 and asked to provide an analysis of the mortgage loan

documents and the parties’ understanding at the time, of which he had first-hand

knowledge. Specific attention to the additional collateral provided by the Alexandria

property was requested.    The attorney’s letter, with exhibits, is attached to this

submission. (See Attachment A.)

       Although the document speaks for itself, in general, the business attorney

confirms the following: the primary collateral for the Bridgehampton loan refinancing

                                          1	
	
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was the real property itself, valued at $13.5 million, and the substantial deposit account of

$642,000 established with the lending institution to be used by the bank in the event of a

default on the mortgage. Importantly, the lawyer notes that “[t]he property at 601 N.

Fairfax St., Unit 405, Alexandria, BA 22314 (Fairfax St.), is merely additional collateral

with no expectation that its foreclosure would be necessary in the event of a default.

These facts were discussed between myself and representatives of FSB well before the

closing of the loan, and the loan documents were prepared accordingly.”                 (See

Attachment A).

       Next, the defendant wishes to advise that upon further investigation and inquiry

with Mr. Manafort’s business attorney, the $2.5 million on deposit with the lender was

tied to the Union Street property in New York, not the Bridgehampton property.

Regardless of the defendant’s intent to use these deposited funds – upon the satisfaction

of certain requisite conditions – for the payment of Bridgehampton loan expenses, there

is no contractual or legal obligation to do so in a hypothetical default scenario.

Nevertheless, as the letter states, the appraised value of the Bridgehampton property plus

the deposit account noted above totals $14,142,000 and would be more than sufficient to

satisfy the $9.5 million loan to Summerbreeze, LLC. Id.

II.    Fifth Avenue Property

       The mortgage payments on the Fifth Avenue property were submitted on

February 2 and February 8 of this month; the documentation that establishes the

submission of these payments to the lending bank is attached. (See Attachment B.)

Presumably, these electronic payments simply had not cleared the bank at the time the




                                             2	
	
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Office of Special Counsel made its representation.1 It is also important to note that the

defendant changed his bill-paying firms recently and the delayed payments were the

result of administrative oversight. The risk of foreclosure on this property that was

posited was based on incomplete information.

Dated: February 16, 2018                                   Respectfully submitted,



                                                                         /s/
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1	If	necessary,	additional	documentation	can	be	secured	once	the	payments	are	cleared.	


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